                  IN THE UNITED STATES DISTRICT COURT
              FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                           WESTERN DIVISION


JUDGE JEFFERSON GRIFFIN,

            Plaintiff,

                 v.

NORTH CAROLINA STATE
BOARD OF ELECTIONS,
                                                   Case No. 5:24-CV-00731-M
            Defendant.

                and

ALLISON RIGGS, et al.,

        Intervenor-Defendants


NORTH CAROLINA
DEMOCRATIC PARTY,

            Plaintiff,

                v.                                 Case No. 5:24-CV-00699-M

NORTH CAROLINA STATE
BOARD OF ELECTIONS, et al.,

            Defendants.


CARRIE CONLEY, et al.

            Plaintiffs,

                v.                                 Case No. 5:25-CV-00193-M

ALAN HIRSCH, et al.

           Defendants.


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    Case 5:24-cv-00731-M-RJ     Document 60   Filed 04/15/25   Page 1 of 3
        These matters comes before the court on three emergency motions to stay filed by

Intervenor-Defendant Allison Riggs (5:24-CV-731-M) [DE 47], Intervenor-Defendants VoteVets

Action Fund, North Carolina Alliance for Retired Americans, Sarah Smith, and Juanita Anderson

(5:24-CV-731-M) [DE 54], and the Conley Plaintiffs (5:25-CV-193-M) [DE 52]. All three

motions request a stay of the portion of Text Orders entered by this court on April 12 and April 14

that direct the North Carolina State Board of Elections “to proceed in accordance with the North

Carolina Court of Appeals opinion . . . as modified by the North Carolina Supreme Court.” E.g.,

Text Order dated April 12, 2025. That portion of the court’s Text Orders, though framed in

mandatory terms, did nothing more than decline to interfere (on an expedited basis and without

the benefit of briefing) with the initiation of a remedial process ordered by the North Carolina

Court of Appeals and North Carolina Supreme Court. See, e.g., Griffin v. N. Carolina State Bd. of

Elections, No. COA25-181, 2025 WL 1021724 (N.C. Ct. App. Apr. 4, 2025); Griffin v. N.

Carolina State Bd. of Elections, No. 320P24-3, 2025 WL 1090903 (N.C. Apr. 11, 2025).

        Thus, to the extent the parties seek a stay of the court’s inaction, that is, its decision not to

enjoin the Board of Elections from complying with the North Carolina Court of Appeals’ order,

that request is denied as improper. What the parties actually seek is reconsideration of the court’s

denial of their requests for temporary restraining orders. 1 The correct avenue for that form of relief

is a motion for reconsideration or direct appeal, if one is available. See Office of Pers. Mgmt. v.

Am. Fed’n of Gov’t Emps., AFL-CIO, 473 U.S. 1301, 1305-06 (1985); Webb v. Beyer, 801 F.

App’x 152, 153 (4th Cir. 2020).



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 Intervenor-Defendant Riggs styled her motion as one for an “injunction,” but she requested “Immediate Relief” on
an “Emergency” basis. DE 40 at 1. Accordingly, the court treated her motion as one for a temporary restraining order.
See Granny Goose Foods, Inc. v. Bhd. of Teamsters & Auto Truck Drivers Loc. No. 70 of Alameda Cnty., 415 U.S.
423, 433 n.7 (1974); Ciena Corp. v. Jarrard, 203 F.3d 312, 319 (4th Cir. 2000).

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        Case 5:24-cv-00731-M-RJ                Document 60           Filed 04/15/25          Page 2 of 3
       This court now clarifies that the only mandatory portion of its April 12 and April 14 Text

Orders is the language prohibiting the Board of Elections from certifying the results of election

pending further order of this court. E.g., Text Order dated April 12, 2025. This court has made

no order altering or modifying the cure process, which is now proceeding pursuant to the North

Carolina Court of Appeals’ order, as modified by the North Carolina Supreme Court.

       The parties also invoke Rule 62 of the Federal Rules of Civil Procedure in order to obtain

a mandatory injunction pending their appealV of this court’s prior denialV of their requests

for temporary restraining orders. The court does not find that initiation of a cure process ordered

by the North Carolina Court of Appeals and North Carolina Supreme Court, on its own, constitutes

a form of irreparable harm because that process cannot result in “massive ex post

disenfranchisement,” unless the Board of Elections takes further action at the conclusion of that

process. Bennett v. Yoshina, 140 F.3d 1218, 1226 (9th Cir. 1998); see also Griffin v. Burns, 570

F.2d 1065, 1078 (1st Cir. 1978). And the court has expressly prohibited the Board of Elections

from certifying the results of the election until the federal constitutional issues in these

consolidated matters have been resolved. See Text Order dated April 12, 2025.

       Temporary restraining orders are disfavored and there is sufficient time remaining in the

cure process to allow full briefing by the parties on their respective requests for injunctive relief.

For the foregoing reasons, the emergency motions for a stay [DE 47; DE 52; DE 54] are denied.



       SO ORDERED this 15th day of April, 2025.




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                                               RICHARD E. MYERS II
                                               CHIEF UNITED STATES DISTRICT JUDGE

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       Case 5:24-cv-00731-M-RJ           Document 60        Filed 04/15/25       Page 3 of 3
